                           IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF IOWA
                                    WESTERN DIVISION

                                        )
 Devin G. Nunes,                        )          Case No. 5:19-cv-04064-CJW-MAR
                                        )
            Plaintiff,                  )
                                        )
 v.
                                        )
 Ryan Lizza and Hearst Magazine Media, )
 Inc.,                                  )
                                        )
            Defendants.                 )
                                        )
                                        )
                                        )
 NuStar Farms, LLC, Anthony Nunes, Jr., )          Case No. 5:20-cv-04003-CJW-MAR
 and Anthony Nunes, III,                )
                                        )
            Plaintiffs,                 )
                                        )
 v.
                                        )
 Ryan Lizza and Hearst Magazine Media, )
 Inc.,                                  )
                                        )
            Defendants.                 )
                                        )

                       Defendants’ Notice of Supplemental Authority

       For consideration in connection with their Resistance (ECF No. 87, “Res.”) to Plaintiff

Devin Nunes’s Motion for Leave to File a Second Amended Complaint, Defendants Ryan Lizza

and Hearst Magazine Media, Inc. submit this notice of important supplemental authority.

       Yesterday, the United States Court of Appeals for the Second Circuit entered an opinion

(the “Second Circuit Opinion,” or “CA2 Op.”) in Nunes v. Cable News Network, Inc., No. 21-

637. A copy is attached hereto as Exhibit A. The Second Circuit Opinion affirmed the

judgment of the district court in Nunes v. Cable News Network, Inc., 520 F. Supp. 3d 549

(S.D.N.Y. 2021), dismissing Devin Nunes’s libel case with prejudice. See also Res. 16 (citing to



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the district court’s decision). Notably, the Court affirmed the district court’s ruling that

California law applies to Devin Nunes’s claim for defamation, holding that California is the state

where he suffered the greatest reputational injury, see CA Op. 13, 24, and that Nunes failed to

comply with California’s retraction statute or plead special damages with the necessary

specificity under Fed. R. Civ. P. 9(g), see CA2 Op. 31-32.




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 Dated: April 15, 2022.           Ryan Lizza and Hearst Magazine Media, Inc.,
                                  Defendants

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                                    Certificate of Service

       The undersigned certifies that a true copy of Defendants’ Notice of Supplemental
Authority was served upon the following parties through the Court’s CM/ECF electronic filing
system on April 15, 2022.

                                                  /s/ Nathaniel S. Boyer
Copy to:                                          Nathaniel S. Boyer

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